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                           ANTHONY S. NOVAK, ESQ.
                              CHAPTER 7 BANKRUPTCY TRUSTEE
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                                                    May 22, 2019

Clerk’s Office
U.S. Bankruptcy Court
450 Main Street
Hartford, CT 06103

       Re:     KENT DONOVAN, JR.
               Chapter 7 Bankruptcy Case No. 19-20608

Dear Case Administrator:

        In regard to the above-captioned Estate, it appears that there may be funds available for
creditors. Therefore, I would appreciate it if you could check your records and if no bar date has
been set, please set a bar date for filing claims and notice same.

       Thank you.


                                                    Very truly yours,

                                                    /s/ Anthony S. Novak
                                                    Anthony S. Novak
                                                    Chapter 7 Trustee
                                                    Email: anthonysnovak@aol.com
